                                 25-1495
            United States Court of Appeals
                 for the First Circuit
                      STATE OF NEW YORK, et al.,

                                                  Plaintiffs-Appellees,

                                      v.

LINDA MCMAHON, in her official capacity as Secretary of Education, et al.,

                                                  Defendants-Appellants.


             On Appeal from the United States District Court
                   for the District of Massachusetts


        MEMORANDUM OF LAW FOR STATE APPELLEES
     IN OPPOSITITION TO MOTION FOR EMERGENCY STAY


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                    PRELIMINARY STATEMENT

     Defendants are not entitled to the “extraordinary remedy,” Nken v.

Holder, 556 U.S. 418, 428 (2009), of a stay pending appeal. 1 Plaintiff

States2 challenge defendants’ actions to effectively close the Department

of Education without authorization from Congress by reducing the

Department’s staff to the point that it cannot perform its statutorily

mandated functions. Following briefing and argument, the district court

(Joun, J.) preliminarily enjoined defendants from taking steps to disman-

tle the Department—including by enjoining a planned reduction in force

(RIF) that would have devastated the Department and by barring the

planned transfer of core Departmental functions to other branches of

government (the “March 21 Directive”). Because the agency defendants’

conduct is unlawful and the district court properly preliminarily enjoined



     1 Defendants-appellants are Linda McMahon, in her official capacity

as Secretary of Education; the U.S. Department of Education; and Donald
J. Trump, in his official capacity as President of the United States. Defen-
dants McMahon and the Department are collectively referred to as the
“agency defendants.”
     2 Plaintiffs-appellees are the States of New York, Massachusetts,

Hawai‘i, California, Arizona, Colorado, Connecticut, Delaware, Illinois,
Maine, Maryland, Minnesota, Nevada, New Jersey, Oregon, Rhode
Island, Vermont, Washington, and Wisconsin; the District of Columbia;
and Attorney General Dana Nessel for the People of Michigan.
that conduct, this Court should decline to stay the preliminary injunction

pending appeal.

     First, defendants are unlikely to succeed on the merits of their

appeal. Plaintiff States submitted dozens of unrefuted declarations—

including more than two dozen declarations from current and former

Department employees—establishing (1) that the RIF would result in the

elimination of entire teams responsible for discharging statutory obliga-

tions, and (2) that following the Department’s dismantling efforts, those

statutory obligations were in fact not being discharged. Defendants

submitted no evidence to the contrary, nor did they purport to comply

with the strict statutory restrictions on the Secretary of Education’s

authority to restructure the Department. Indeed, defendants barely

defend the legality of their actions in this motion, arguing instead that

the plaintiff States lack standing, that plaintiffs’ claims are precluded by

the Civil Service Reform Act, and that defendants’ actions are not final

for purposes of the Administrative Procedure Act (APA).

     Second, the record shows that the Department’s actions have

already caused irreparable injury to plaintiff States, including by forcing

States to divert their own resources to replace diminished federal services


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that are statutorily required, by disrupting the federal student aid process

during the peak time of year for aid applications, and by depriving the

States of technical assistance and data needed for resource allocation. By

contrast, defendants cannot show irreparable harm from an order that

merely ends unlawful action. For similar reasons, the public interest is

best served by ensuring that the Department continues to deliver the

services it is required to provide, pending this litigation.


                             BACKGROUND

A.   Federal Law Governing the Department of Education

     Congress created the Department of Education in 1979. See Pub. L.

No. 96-88, 93 Stat. 668 (1979) (codified as amended at 20 U.S.C. §§ 3401-

3510). The Department is obligated by statute to administer numerous

programs, including the federal student aid system, federal grants for

higher education, and federal funds for birth-to-grade-12 education. See

20 U.S.C. §§ 1070a, 1087a-1087j, 1087-51 to -58, 1070b-1070b-4, 1400-

1482, 6301-6577.

     The Department must also investigate and enforce various laws in

the education context via its Office for Civil Rights, including Title VI of

the Civil Rights Act of 1964 (prohibiting discrimination based on race,

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color, or national origin), see 42 U.S.C. § 2000d; Title IX of the Education

Amendments of 1972 (on the basis of sex), see 20 U.S.C. §§ 1681-1689;

and Section 504 of the Rehabilitation Act of 1973 (on the basis of disabil-

ity), see 29 U.S.C. § 794. In addition, Congress requires that the Depart-

ment “collect, report, analyze, and disseminate statistical data related to

education,” including state and local education. 20 U.S.C. § 9543(a)(1).

     Congress has restricted the authority of the Secretary of Education

to unilaterally alter the Department’s functions. See id. § 3473. The Secre-

tary may “consolidate, alter, or discontinue” certain enumerated entities,

id. § 3473(a), but only after giving the appropriate House and Senate

oversight committees at least ninety days to evaluate “a full and complete

statement of the action proposed to be taken” and the “facts and

circumstances” supporting such proposal, id. § 3473(b)(2).

     Congress has expressly prohibited the Secretary from abolishing

other statutory entities within the Department, see id. § 3473(a)(2), and

from reallocating or discontinuing any functions transferred to the

Department from other departments, see id. § 3473(a)(1). The Secretary

is also prohibited from altering “the delegation of functions” specifically

assigned by statute to a “specific organizational entity.” Id. § 3473(a)(3).


                                     4
And the Secretary’s discretion is further limited by Congress’s mandate

that any reorganization be “necessary or appropriate.” Id. § 3473(a). As

the sponsor of the Department’s original enabling legislation noted in

1979, this provision was included to prevent “the administrative

elimination of programs.” 2 Legislative History of Public Law 96-88,

Department of Education Organization Act 1800 (125 Cong. Rec. H8597

(Sept. 27, 1979) (remarks of Rep. Brooks)).


B.   Defendants’ Actions to Dismantle the Department

     After the 2024 election, President-elect Trump told Time magazine

that “you can do a lot of things without Congress” to cut the size of the

federal government.3 Offering an example, the President-elect said that

he intended to direct “[a] virtual closure of Department of Education in

Washington.”4 After his inauguration, President Trump called the




     3 Time Staff, 2024 Person of the Year Interview with Time, Time

(Dec. 12, 2024), https://time.com/7201565/person-of-the-year-2024-
donald-trump-transcript/. (All websites last visited May 25, 2025.)
     4 Id.


                                    5
Department “a big con job” and stated that he wanted it “closed immedi-

ately.”5

      On March 3, which was defendant Linda McMahon’s first day as

Secretary of Education, she announced “Our Department’s Final Mission”

in a speech posted to the Department’s website. (See Ex. 3. 6) Secretary

McMahon stated that the Department would perform “one final, unforget-

table public service to future generations of students” (id. at 4), and that

the changes would “profoundly impact staff, budgets, and agency opera-

tions here at the Department” (id. at 2).

      Eight days after the “Final Mission” speech, the Department

announced that it had “initiated a reduction in force (RIF) impacting

nearly 50% of the Department’s workforce.” (Ex. 5, at 1.) The RIF

announcement noted that the Department had employed 4,133 workers

on Inauguration Day, and that “[a]fter today’s actions, the Department’s




      5 Nandita Bose & Kanishka Singh, Trump Says He Wants
Education Department to Be Closed Immediately, Reuters (Feb. 13, 2025),
https://www.reuters.com/world/us/trump-says-he-wants-education-
department-be-closed-immediately-2025-02-12/.
      6All exhibits cited as “Ex.” are exhibits to the Declaration of
Nathaniel J. Hyman, ECF No. 71, with page references omitting the
cover sheet, except where otherwise noted.
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workforce will total roughly 2,183 workers.” (Id. at 1-2.) The announce-

ment claimed that the Department “will continue to deliver on all statu-

tory programs that fall under the agency’s purview,” but did not explain

how that would be possible given the RIF. (See id. at 1.) The announce-

ment stated that the affected employees would be on administrative leave

starting March 21, and would leave the Department’s payroll on June 9.

(Id. at 2.)

      Employees subject to the RIF received a mass email stating that

“your organizational unit is being abolished along with all positions within

the unit—including yours.” (See, e.g., Ex. 68, Decl. of Doe Declarant 16,

Ex. 1, at 1.) The email explained that the terminations were not based on

the employees’ “performance or contributions,” but were part of the

Department’s “restructuring process.” (See, e.g., id. at 2.) Immediately

after the mass email was sent, affected staff lost the ability to access rele-

vant software on their computers and could no longer send emails outside

the Department. (See, e.g., Ex. 51, Decl. of Hamlin ¶ 7.)

      The result was a near-immediate cessation of critical and statutorily

mandated services. For example, one employee who received a RIF notice

was the Department’s Acting Performance Improvement Officer, who has


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provided a declaration as Doe Declarant 21. (Ex. 84 ¶¶ 3-6.7) Doe

Declarant 21’s entire team was abolished by the RIF, and Doe Declarant

21 became concerned that the Department would be unable to meet its

obligations under the GPRA Modernization Act of 2010,8 which requires

a Department official to be assigned as Performance Improvement

Officer. (Id. ¶ 7.) Doe Declarant 21 reached out for a meeting with senior

agency officials—including Denise Carter, who served as Acting Secre-

tary of the Department until days before the RIF announcement—and

asked how the role of Performance Improvement Officer would be transi-

tioned to others within the Department. Carter told Doe Declarant 21

that the Director of the Budget Service would be designated as the

Performance Improvement Officer, but would “oversee the winding down

of the work.” (Id. ¶¶ 10-11.) Carter further explained that “because the

Department as an agency was winding down, and would not exist moving

forward, it would not be responsible for meeting the statutory functions

performed by the Performance Improvement Officer.” (Id. ¶ 11.)



        7 Exhibit 84 is an exhibit to the Second Supplemental Declaration

of Nathaniel J. Hyman, ECF No. 124.
        8 Pub. L. No. 111-352 (2011) (government performance and results

act).
                                     8
      On March 20, 2025, President Trump signed an Executive Order

titled “Improving Education Outcomes by Empowering Parents, States,

and Communities.” (Ex. 1. 9) The Executive Order directs that Secretary

McMahon “shall, to the maximum extent appropriate and permitted by

law, take all necessary steps to facilitate the closure of the Department

of Education.” (Id. § 2(a)).

      On March 21, during a press conference, President Trump said he

had “decided that the SBA, the Small Business Administration . . . will

handle all of the student loan portfolio,” and that although administra-

tion of student loans is a “pretty complicated deal,” the portfolio would be

“coming out of the Department of Education immediately.” 10 The

President also stated that “special needs” and “nutrition programs”

would be transferred to the Department of Health and Human Services.11




      9 Exec. Order No. 14242, 90 Fed. Reg. 13679 (Mar. 25, 2025).

      10Lexi Lonas Cochran, Trump Says Student Loans Moving to SBA,
‘Special    Needs’    to  HHS,     The   Hill   (Mar.   21,    2025),
https://thehill.com/homenews/education/5207597-trump-student-loans-
sba-special-needs-disabled-students-hhs-mcmahon-kennedy/.
      11   See id.
                                     9
C.   Proceedings in the District Court

     In March 2025, the plaintiff States filed the complaint in this action,

alleging that the RIF is “an effective dismantling of the Department”

because it is “so severe and extreme that it incapacitates components of

the Department responsible for performing functions mandated by

statute.” (Dist. Ct. ECF No. 1, ¶¶ 3-4.) Plaintiffs alleged that the defen-

dants’ actions: (1) violate the separation of powers; (2) violate the Take

Care Clause of the Constitution; (3) are ultra vires; and (4) violate the

APA as both contrary to law and arbitrary and capricious. (Id. ¶¶ 149-

195.) On March 24, 2025, plaintiff States moved for a preliminary

injunction. (See Dist. Ct. ECF Nos. 69-71.)

     The district court heard oral argument on April 25, 2025. (See Hr’g

Tr. (reproduced in the addendum to Defendants’ Emergency Motion).) At

oral argument, defendants sought to portray the RIF as a “streamlining”

of the Department to cut “bureaucratic bloat” that is separate from the

President’s goal of closing the Department. (Id. at 30-32.) Defendants

conceded that only Congress can abolish the Department, but when the

court asked defendants to point to evidence in the record that “the admin-

istration is working on a legislative agenda,” defendants pointed only to


                                    10
the plaintiffs’ own declarations and the statements from the President

and Secretary therein referring to the goal of closure. (Id. at 32.)

     In granting plaintiffs’ motion, the district court found that “[t]he

record abundantly reveals that Defendants’ true intention is to effec-

tively dismantle the Department without an authorizing statute.” (Mem.

& Order at 2 (reproduced in the addendum to Defendants’ Emergency

Motion).) The court therefore enjoined the agency defendants from carry-

ing out the RIF, and directed them “to restore the Department to the

status quo such that it is able to carry out its statutory functions,”

including by reinstating employees whose employment was terminated

by the RIF. (Id. at 88.)


                              ARGUMENT

     To obtain a stay pending appeal, the defendants must: “(1) make a

strong showing that they are likely to succeed on the merits in their

appeal; (2) show that they will be irreparably injured absent a stay;

(3) show that issuance of the stay will not substantially injure the other

parties interested in the proceeding; and (4) show that the stay would

serve the public interest.” New York v. Trump, 133 F.4th 51, 65 (1st Cir.

2025) (quotation marks and brackets omitted); see New Jersey v. Trump,

                                     11
131 F.4th 27, 33 (1st Cir. 2025). Of the four factors, the first two—

likelihood of success and irreparable injury—“are the most critical.” New

York, 133 F.4th at 66 (quotation marks omitted). Defendants have failed

to show that any of the four factors favor a stay pending appeal here.


I.    DEFENDANTS ARE UNLIKELY TO SUCCEED ON THE MERITS OF
      THEIR APPEAL.

      Defendants primarily raise threshold jurisdictional and reviewabil-

ity arguments. Contrary to defendants’ contention, plaintiffs have

standing, and the Civil Service Reform Act (CSRA) does not bar plaintiffs’

claims. In response to the merits of plaintiffs’ claims, defendants argue

that they have not engaged in a reviewable agency action, but do not even

attempt to rebut plaintiffs’ showing that their actions are contrary to law

and arbitrary and capricious. And although defendants dispute the scope

of the injunction, they do not propose alternative relief to redress

plaintiffs’ injuries.




                                    12
A.   Plaintiff States Have Standing.

     A State has standing to challenge a federal official or agency’s

conduct if the State has suffered “a concrete and imminent harm to a

legally protected interest . . . that is fairly traceable to the challenged

conduct and likely to be redressed by the lawsuit.” Biden v. Nebraska,

600 U.S. 477, 489 (2023).

     Here, the district court correctly found that the States have

standing because they “have already experienced delays and disruptions”

in receiving funding because of the RIF. (Mem. at 38.) Among other

things, state universities have already experienced delays and

nonresponses from the Department, including a lack of responses needed

to complete recertification to receive aid. (See, e.g., Ex. 40.) Universities

have also observed a significant drop in completion rates for the Free

Application for Federal Student Aid (FAFSA) for students and families,

and a significant decline in customer support from the Department’s

FAFSA call center. (Ex. 26 ¶ 34.)

     Plaintiffs also demonstrated a high likelihood of imminent harm

absent injunctive relief. For example, the States explained below that the

Department will be unable to properly calculate States’ Title I funding in


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the coming academic year because of the effective elimination of the

Department entity that collects the data necessary to make such calcula-

tions. (Tr. at 19; see Ex. 18 ¶ 14.) In addition, plaintiffs showed that the

Department’s gutting of the OCR is already causing a surge in demand

on state officials to investigate civil rights complaints that the Depart-

ment cannot investigate due to the RIF. (Ex. 22 ¶ 15.)

     Defendants do not acknowledge the district court’s factual findings

with respect to standing, or the overwhelming record evidence of pecuni-

ary and sovereign injuries submitted by plaintiffs. Instead, defendants

argue that plaintiffs are impermissibly seeking to vindicate “an abstract

and generalized grievance” about the separation of powers. Mot. at 11.

Defendants’ characterization of plaintiffs’ injury is simply wrong.

     Defendants are also wrong to argue that plaintiffs’ injuries are not

redressable.12 Mot. at 12. The sole case defendants cite for this proposi-




     12  Indeed, defendants go further, arguing that any attempt to
dismantle a federal agency is inherently nonjusticiable. (Mot. at 11.) But
that is clearly wrong—taken to its logical conclusion, the federal
government could terminate 3,999 of 4,000 employees within a hypothet-
ical agency, assign the remaining employee all of the statutory obliga-
tions of the agency, and then argue that courts could not redress the
ensuing harm.
                                    14
tion, DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 346 (2006), pertains

to the unique doctrine of taxpayer standing in challenges to state spending

actions. Neither that case, nor any other case that plaintiffs are aware of,

supports defendants’ arguments that plaintiffs categorically lack standing

in cases that involve questions about the separation of powers. To the

contrary, a plaintiff injured by government action does not forfeit his

standing to sue even if an additional “consequence of his prevailing”

might be to resolve a question of separation of powers between the

political branches. See INS v. Chadha, 462 U.S. 919, 935-36 (1983).


B.   The District Court Properly Exercised Jurisdiction
     over Plaintiffs’ Claims.

     Contrary to defendants’ contention (Mot. at 13-16), the CSRA does

not divest federal courts of jurisdiction to hear plaintiffs’ claims.

     The CSRA requires an administrative body, the Merit Service

Protection Board, to hear “a suit brought by employees or unions over

employee or union problems.” Maryland v. USDA, No. 25-cv-748, 2025

WL 973159, at *16 (D. Md. Apr. 1, 2025). The district court correctly

concluded that the CSRA does not apply to plaintiffs’ claims. (Mem. at

42-45.) Plaintiffs are not asking the court to review the propriety of


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employment actions; rather, plaintiffs are challenging defendants’ use of

mass terminations as a tool to dismantle the Department.

     In insisting that the CSRA is relevant here, defendants rely (Mot.

at 15) on a summary stay order granted by a divided panel of the Fourth

Circuit in the Maryland case. See Maryland v. USDA, 2025 WL 1073657

(4th Cir. Apr. 9, 2025). But that out-of-circuit decision is not persuasive

authority here, for two reasons. First, the majority’s order notes that the

federal government raised both standing and CSRA-channeling argu-

ments in challenging jurisdiction, but does not specify the basis for the

stay—and the majority offers no analysis of the CSRA issue. Id. at *1.

Second, and in any event, Judge Benjamin’s dissent persuasively explains

why the Government’s CSRA argument was mistaken. Id. at *3. As Judge

Benjamin shows, the federal government’s argument depended upon a

faulty premise that the States are trying to vindicate the rights of

employees, but the CSRA is no bar when the States are asserting their

“separate harms as state qua states.” Id. (quotation marks omitted).

Courts in other circuits have since found the dissent in Maryland “more

robust and more persuasive” than the majority opinion. See, e.g., American

Federation of Govt. Employees, AFL-CIO v. Trump, 2025 WL 1482511, at


                                    16
*13 (N.D. Cal. May 22, 2025). Indeed, even a district court within the

Fourth Circuit has construed the stay order narrowly, concluding that it

does not bar suits in which the effective shuttering of an agency has

affected non-employees’ access to statutorily mandated programs. Wiley

v. Kennedy, 2025 WL 1384768, at *11 (S.D. W.Va. May 13, 2025).

     Here too, the States are suing not for the benefit of Department

employees, but to prevent their own injuries resulting from the

Department’s incapacitation. Yet defendants admit (Mot. at 16) that

their position is that States can never sue over a RIF—even if the RIF

injures States, and even if the purpose and effect of the RIF is to make

the agency nonfunctional. That goes too far. When a case presents

questions that “are fundamental, even existential” about an agency’s

“structure or very existence,” it would be “surprising” to conclude that

Congress would have intended the case to be heard before an adminis-

trative body—and far more likely that federal district court is the proper

venue. Axon Enter., Inc. v. FTC, 598 U.S. 175, 180, 189 (2023). Moreover,

because the entity to which defendants would channel plaintiffs’ claims

has “no particular expertise” with respect to the Department of




                                   17
Education’s statutory obligations, that entity is not the proper forum. See

Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 214 (1994).


C.   The District Court Correctly Found That Defendants’
     Actions Are Likely Unlawful.

     In their motion, defendants fail to rebut the district court’s

thorough analysis in concluding that plaintiffs are likely to succeed on

the merits.


     1.   Defendants’ actions likely violate the separation of
          powers and the Take Care Clause

     The federal government has two elected branches: Congress, which

“makes laws,” and the President, who “faithfully executes them.” Utility

Air Regul. Grp. v. EPA, 573 U.S. 302, 327 (2014) (quotation marks and

brackets omitted). The Constitution vests “[a]ll legislative Powers” in

Congress. See U.S. Const. art. I, § 1. The executive branch has no author-

ity to enact, amend, or repeal statutes, and under the Take Care Clause,

the President must ensure that the laws are faithfully executed. See

Clinton v. City of New York, 524 U.S. 417, 438 (1998); see also Chadha,

462 U.S. at 954. The President does not have—under the Constitution or




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otherwise—the power to disregard or act contrary to statutes, even in an

emergency. Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952).

     The district court correctly found that defendants’ actions are likely

unconstitutional because defendants “are effectively disabling the Depart-

ment.” (Mem. at 48-50.) As explained (supra at 13-14), plaintiffs have put

forward extensive evidence—wholly unrebutted by defendants—that

defendants are preventing the Department from fulfilling statutory

obligations. In addition, defendants are not even attempting to comply

with 20 U.S.C. § 3473’s express restrictions on the Secretary’s authority

to reorganize the Department. Indeed, defendants’ filings have consis-

tently failed to even mention that statute.

     Instead, defendants insist that their actions are merely a

streamlining of the Department “for the government to endeavor to

operate as efficiently as possible.” Mot. at 17. But defendants ask this

Court to simply take their word for it, despite all evidence to the contrary.

Their effort to depict the RIF and the project to close the Department as

two separate things is simply not credible. The President made clear that

he believed he could virtually close the Department without Congress

(see supra at 5-6), and the Department’s RIF announcement specifically


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stated that terminating half of the Department’s workforce was “part of”

the “final mission” project. (Ex. 5, at 1.) And the record evidence

assembled by plaintiffs, including Doe Declarant 21’s declaration (see

supra at 7-8), shows that high-ranking officials within the Department

are acting to wind down department functions, including the functions of

terminated employees who performed statutorily mandated roles.

     The Department’s concession that only Congress can close the

Department (Mot. at 1) is correct, but the factual record demonstrates

that the Department is nonetheless attempting to dismantle itself. As the

district court aptly put it, the lack of evidence that the defendants have

done anything to seek congressional approval evokes a teenager who

throws a party at home without getting parental permission and justifies

it by saying “to the extent that my parents give me permission to, I am

throwing this party.” (Tr. at 41-42.) A savings clause that would prohibit

what the main thrust of a government action purports to do cannot save

that action from illegality. See City & County of San Francisco v. Trump,

897 F.3d 1225, 1239 (9th Cir. 2018).




                                   20
     2.   Defendants’ actions likely violate
          the Administrative Procedure Act.

     At a minimum, a rational agency action must offer “genuine

justifications for important decisions,” so that those reasons “can be

scrutinized by courts and the interested public.” Department of Com. v.

New York, 588 U.S. 752, 785 (2019). Here, as the district court found

(Mem. at 59-60), defendants have offered no explanation for their actions

beyond a generalized reference to efficiency, which is at odds with defen-

dants’ public statements characterizing the challenged actions as the

Department’s “final mission” of closure. An “explanation for agency action

that is incongruent with what the record reveals about the agency’s

priorities and decisionmaking process” is inherently arbitrary and capri-

cious. See Department of Com., 588 U.S. at 785.

     Moreover, to the extent efficiency is the goal, the existence of the

Department is an efficiency. As the district court noted (Mem. at 1-2),

many of the statutory programs the Department administers preexisted

the Department—and Congress streamlined those functions by placing

them under a single department. Defendants’ actions are arbitrary and

capricious because they redistribute those tasks away from statutorily

assigned entities—and without any reasoned explanation.

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     The challenged actions also contradict Congress’s “mandate that

the Department itself must exist—not just in name only, but to carry out

the functions outlined in the [organizing act] and other relevant operat-

ing federal statutes.” (Mem. at 63.) Defendants have not argued that

their actions fall within the Secretary’s limited restructuring authority

under § 3473. Nor could they, as they offer no record to support a finding

that the restructuring is “necessary or appropriate” to enable the

Department’s work under that provision. See 20 U.S.C. § 3473(a).

     Indeed, in this motion, defendants barely defend the rationality or

legality of their actions under the APA. Instead, they argue (Mot. at

18-19) that defendants’ actions are not a reviewable final agency action.

That argument also is wrong.

     A final agency action represents the “consummation” of agency

decisionmaking rather than a “merely tentative or interlocutory” position,

and is an action “by which rights or obligations have been determined, or

from which legal consequences will flow.” U.S. Army Corps of Eng’rs v.

Hawkes Co., 578 U.S. 590, 597 (2016) (quotation marks omitted). The

Supreme Court has urged a “pragmatic” approach to finality, id. at 599,

holding that an agency action is final if it “for all practical purposes has


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ruled definitively” on a matter and if that definitive ruling has direct

practical consequences, id. at 598 (quotation marks omitted).

     This standard is easily met here, as the district court recognized.

(See Mem. at 52-53.) The defendants have made clear that the mass

terminations under the RIF will not be reversed, and the terminated

employees have been cut off from the ability to do their jobs. Legal conse-

quences flow from defendants’ actions because “Agency Defendants have

already terminated half of the Department, shut down entire programs

and offices, and transferred Congressionally mandated programs out of

the Department.” (Id. at 53.)


D.   The Scope of the Preliminary Injunction Is Appropriate.

     Finally, defendants are wrong to contest (Mot. at 19) the scope of

the relief ordered by the district court. The purpose of a preliminary

injunction is to preserve the status quo, which is “the last uncontested

status which preceded the pending controversy,” Braintree Lab’ys, Inc. v.

Citigroup Glob. Mkts. Inc., 622 F.3d 36, 41 & n.5 (1st Cir. 2010) (quota-

tion marks omitted), and which is not necessarily the status that existed

on the date that the complaint was filed, see Baillargeon v. CSX Transp.

Corp., 463 F. Supp. 3d 76, 82-83 (D. Mass. 2020) (citing Braintree

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Laboratories). The district court’s order is appropriately tailored because

it requires the reinstatement of employees only insofar as they were

terminated as a part of defendants’ improper efforts to close the Depart-

ment, and is no broader than necessary to redress plaintiffs’ harms. The

order also does not bar the Department from reorganizing in other ways,

such as via the Department’s lawful authority under 20 U.S.C. § 3473.

(See Mem. at 88.)

     In arguing that the district court’s order exceeds its powers at

equity (Mot. at 19), defendants again err, as they did in invoking the

CSRA, by relying on personnel cases brought by employees. See Sampson

v. Murray, 415 U.S. 61, 83-84 (1974). Sampson does not hold, as defen-

dants contend, that reinstatement is unavailable in equity. Rather, it

holds that equity is traditionally unwilling “to enforce contracts for

personal service either at the behest of the employer or of the employee.”

Id. at 83. That principle has no application to a suit by States challenging

improper closure of an agency.




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II.   THE REMAINING FACTORS WEIGH STRONGLY AGAINST A STAY.

      The remaining factors—irreparable harm, the risk of injury to other

parties, and the public interest—all strongly counsel against a stay

pending appeal. Where the federal government is a party, the Court’s

inquiry into the equitable factors and the public interest merges. See Does

1-6 v. Mills, 16 F.4th 20, 37 (1st Cir. 2021); Massachusetts Fair Hous. Ctr.

v. U.S. Department of Hous. & Urban Dev., 496 F. Supp. 3d 600, 611 (D.

Mass. 2020) (citing Nken, 556 U.S. at 435).

      As set forth above (at 13-14) and in the district court opinion (Mem.

at 63-85), plaintiffs have suffered and will suffer irreparable harm from

defendants’ actions through the increased burden that has already been

placed on state resources to investigate civil rights violations that the

Department can no longer handle; the deep cuts to Federal Student Aid

staff during the peak time of year for FAFSA processing; the virtual

elimination of the team that collects data for allocating Title I funds to

States; the Department’s diminished ability to provide program guidance

technical assistance to States; and more.

      By contrast, defendants cannot show that the district court’s

preliminary injunction will cause irreparable harm, and the public


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interest favors maintaining the preliminary injunction. Defendants point

primarily to a public interest in protecting the executive branch’s func-

tions. See Mot. at 20. But, under separation of powers principles and the

Take Care Clause, the public interest lies in enjoining executive action

that violates statutes enacted by the legislative branch. Indeed, plaintiffs’

“extremely high likelihood of success on the merits” is a strong indication

that preserving the district court’s injunction “would serve the public

interest.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C.

Cir. 2016).

     Defendants are correct that the “constitutional order” requires

policy judgments to be made by the “politically accountable” branches

(Mot. at 20), but it is the role of Article III courts to ensure that one of

the two political branches does not unlawfully exercise a power that

belongs to the other. See Nebraska, 600 U.S. at 503, 506-07. Defendants

are “correct that this is a case about one branch of government arrogating

to itself power belonging to another.” Id. at 503 “But it is the Executive

seizing the power of the Legislature.” Id. And it is, moreover, part of the

constitutional order for States to ask the courts to enjoin such power grabs




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when they injure the States or their instrumentalities. See id. at 490,

506-07.

     Defendants also claim that the Government will be harmed by

being required “to continue employing individuals whose services it no

longer requires.” Mot. at 20. But as the unrebutted record shows, the

Department “no longer requires” the employees only because defendants

are abandoning their required statutory duties in violation of the law.

Moreover, the Government is already compensating all terminated

employees until at least June 9 to do no work at all (see supra at 7)—

undercutting the purported urgency with which the federal defendants

have demanded that this Court address their emergency stay motion. See

Mot. at 22.) To the extent that the defendants’ objections are based on

the burden of unwinding steps to close the Department already improperly

performed, the government cannot “be heard to complain about damage

inflicted by its own hand,” Pennsylvania v. New Jersey, 426 U.S. 660, 664

(1976).


                            CONCLUSION

             The Court should deny a stay pending appeal.



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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing document complies with the

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